900 F.2d 256Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Andres LASTRA-PENA, a/k/a Palencho, Defendant-Appellant.
    No. 89-7600.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 27, 1989.Decided March 8, 1990.
    
      Appeal from the United States District Court for the District of South Carolina, at Charleston.  Falcon B. Hawkins, District Judge.  (C/A No. 88-1039;  CR No. 85-46).
      Andres Lastra-Pena, appellant pro se.
      Robert Hayden Bickerton, Assistant United States Attorney, for appellee.
      D.S.C.
      AFFIRMED.
      Before DONALD RUSSELL and WILKINSON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Andres Lastra-Pena appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Lastra-Pena, CR No. 85-46;  C/A No. 88-1039 (D.S.C. March 27, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    